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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 DAVID J. WARD (CABN 239504)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        FAX: (415) 436-7234
          david.ward@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   NO. CR 20-00257 WHO
                                                      )
14           Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER
                                                      )   CONTINUING STATUS HEARING RE
15      v.                                            )   SENTENCING
                                                      )
16   WING LOK “WALTER” WONG,                          )
                                                      )
17           Defendant.                               )
                                                      )
18
19           This matter is currently set for a Zoom status hearing on July 14, 2022 at 1:30 p.m. The parties
20 respectfully request that the status hearing be continued for six months, to January 12, 2023, at 1:30 p.m.

21 In the interim, the defendant will continue to provide cooperation pursuant to the terms of his plea

22 agreement.

23           SO STIPULATED.
24

25 DATED: July 13, 2022                                   STEPHANIE M. HINDS
                                                          United States Attorney
26

27                                                        /s/ David Ward
                                                          DAVID J. WARD
28                                                        Assistant United States Attorney

     STIP AND [PROPOSED] ORDER RE; STATUS HEARING
     CR 20-00257 WHO
             Case 3:20-cr-00257-WHO Document 41 Filed 07/13/22 Page 2 of 2




 1 DATED: July 13, 2022                                        /s/ with permission
                                                        CARLY BITTMAN
 2                                                      SWANSON & McNAMARA LLP
                                                        Attorneys for Defendant
 3

 4

 5                                          [PROPOSED] ORDER

 6         Pursuant to stipulation, the above-captioned matter will be set for a status hearing on January 12,

 7 2023 at 1:30 p.m.

 8         IT IS SO ORDERED.

 9

10 DATED: ___________________                           _______________________________
                                                        HON. WILLIAM H. ORRICK
11                                                      UNITED STATES DISTRICT JUDGE
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     STIP AND [PROPOSED] ORDER RE; STATUS HEARING
     CR 20-00257 WHO
